Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 1 of 9
Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 2 of 9
Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 3 of 9
Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 4 of 9
Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 5 of 9
Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 6 of 9
Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 7 of 9
Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 8 of 9
Case 19-01046   Doc 14   Filed 09/21/19 Entered 09/21/19 15:38:13   Desc Main
                           Document     Page 9 of 9
